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5
     Attorney for Defendant
6    AMBER COLLINS
7

8
                           IN THE UNITED STATES DISTRICT COURT
9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,          )                2:15-cr-00176-TLN-7
                                        )
13
                             Plaintiff, )
14                                      )                STIPULATION AND ORDER
     v.                                 )                TO CONTINUE JUDGMENT
15                                      )                AND SENTENCING
                                        )
16
     AMBER COLLINS,                     )
17                                      )
                             Defendant. )                Judge Troy L. Nunley
18   __________________________________ )
19

20                                           STIPULATION
21          Plaintiff, United States of America, by and through its counsel, Assistant United States
22
     Attorney Rosanne Rust, and defendant, Amber Collins, by and through her counsel, Erin J.
23
     Radekin, agree and stipulate to vacate the date set for judgment and sentencing, January 18, 2018
24

25   at 9:30 a.m., in the above-captioned matter, and to continue judgment and sentencing to February

26   8, 2018 at 9:30 a.m. in the courtroom of the Honorable Troy L. Nunley.
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1           In addition, the parties stipulate to the following modification to the schedule of
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     disclosure relating to the pre-sentence report (“PSR”):
3
            Written, or informal, objections              January 11, 2018
4

5
            Final PSR                                     January 18, 2018

6           Motion for correction of PSR                  January 25, 2018
7           Government’s reply                            February 1, 2018
8
            The reason for this request is that the defense needs additional time to obtain and review
9
     records relevant to sentencing issues, and to prepare for sentencing. The Court is advised Ms.
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11   Rust and United States Probation Officer Lynda Moore have no opposition to the proposed dates

12   set forth above, and Ms. Rust has authorized Ms. Radekin to sign this stipulation on her behalf.
13
            Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
14
     IT IS SO STIPULATED.
15
     Dated: December 22, 2017                             PHILLIP A. TALBERT
16
                                                          United States Attorney
17
                                                  By:     /s/ Rosanne Rust
18                                                        ROSANNE RUST
19
                                                          Assistant United States Attorney

20
     Dated: December 22, 2017                             /s/ Erin J. Radekin
21                                                        ERIN J. RADEKIN
22                                                        Attorney for Defendant
                                                          AMBER COLLINS
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     //
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1                                                ORDER
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            For the reasons set forth in the accompanying stipulation and declaration of counsel, the
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     date set for judgment and sentencing, January 18, 2018 at 9:30 a.m. is VACATED and the
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     above-captioned matter is set for judgment and sentencing on February 8, 2018 at 9:30 a.m. in

6    the courtroom of the Honorable Troy L. Nunley.
7           Further, the schedule of disclosure is modified as follows:
8
            Written, or informal, objections             January 11, 2018
9
            Final PSR                                    January 18, 2018
10

11          Motion for correction of PSR                 January 25, 2018

12          Government’s reply                           February 1, 2018
13
     IT IS SO ORDERED.
14
     Dated: December 27, 2017
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                                                     Troy L. Nunley
                                                     United States District Judge
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